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                         IN THE ~JNITED STA'~ES BANKRUPTCY COiJR`I'

                                 FOR THT DISTRICT OF DELAWARE

In re:                                                )       Chapter 11

QUICKSILVTR,INC., et al.,                             )       Case No. 15-11880(BLS)

                     Debtors.~                        }
                                                              Jointly Adrninistez~ed
                                                              Objection Deadline: December 1~1, 2015 at 4:00 p.m.
                                                              Dearing Date: Scheduled o~aly i#' l~ecessary




             FIRST IYIONTIILY APPLICATION F'4R C~N~PENSATION
                   ANll 12EIMBURSEMENT OF EXPENSES OF
           PACHULSKT STANG ZIEHL &JONES LLI', AS CO-COUNSEL
             TO THE llEBTORS AND DEBTORS TN POSSESSION,FOR
      THE PERIOD FROM SEPTEMBER 9,2015 THROUGH SEPTEMBER 30,2015

Name of Applicant:                                        Pachulsici Stang Ziehl &Jones LLP
Authorized to Provide Professional Se~•vices              Debtors and Debto~•s in Possession
to:
                                                          Nunc Pao Tunc to September 9, 241 S by o~•der
Date of Retention:                                        signed October 6;2015
Period for which Compensation and                         ~~ptember 9, 2015 through September 30, 2015
                                                                                                      a
Reimbursement is Sought;
Amount of Compensation Sought as Actual,                  ~~2~y~~ 50
Reasonable and Necessary:
Amount of F,xpense Reimbursement Sought                   ~     436.40
as .Actual, Reasonable and Necessary:                                                       ____M___

This is a:         x monthly           interim          final application.

                  The total time expended for fee application preparation.is approximately 3.0 hours

and the corresponding compensation requested is appz~oximately $1,000.00.


 ~ Tha Debtors ar~ci the last four digits of their respective taxpayer identification numbers are as follows;
Quiksilver, Inc. {9426), QS Wholesale, Inc,(8795), DC Direct, Inc.(8364}, DC Shoes, Inc.(0965), I'idra, Inc,
(8945), 1-~aw)c Designs, Tnc.(1121), Mt. Waimea, Inc.(5846), Q.S. Optics, Inc.(2493), QS Retail, Inc.(0505),
Quiksilver Entertainment, Inc. (966'7), and Qtuksilver Wetsuits, fnc.(9599): The address of the Debtors'
corporate headquarters is 5600 Argosy Circle, 3-luntington Beach, California 92649.
2 The applicant reserves the right to include any time expended in the time period indicated above in future
applications} if it is not~included herein.


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                                                PRIOR APPLICATIONS FILED

    ?ate                 Peri~c~ C'o~Y~a~eci                 ~et~~~es~~c~            Requested                 ~~a~z•avec~              1~.~~~s~~~t
   ~i~~ti                                                       ~+~ees             _~~~~ex~ses                    l+"ees ~               ~.~......:~~e~as~s

No prio~~ fee applieatiolis have been filed.


                                                     PSZ&~T PROFESSIONALS

~r~iItL t3~.~`Y'iD~i'$SIUi~~I~                '~'USI~If}il ~~ ~~~f: ~~3.~~I~ilTl~q               ~~03.i~'~~'         ~(1~'r3~           ~tl'~~1~
                                         ~-    ~t id i~[~14J[ V~~~<i~~7 ~~'A~ a~ci~       ~      ~~~~~Si~       ~   ~~~lii~wY   '.~~7fJ.l[~V ~~7FS~~W~~
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     .'~~.        .~   ..~.:      -'                                             t.~~..
                                              ~~.~ti13~b~Vi.4}iji ~VAy ~i'~l~T                    ~W~IV        ~~   ~~i~~Li~



                               ,. ..                    }          {.                          ('~p                                                    -: _.




Laura Davis Janes                      Partner 2000; Joined Firm 2000;             $1,025.00    15.30                 $15,682.50
                                       Member of DE Bar since 1986
Jeffrey N. Pomerantz                   Partner 1995; Member of Cn Bar              $ 89S.OQ       0.60                $ 53'7.00
                                       since 198
John A. Mo~mis                         Partner 200; Member of NY Ba~~              $ 875.00       2.20                $ 1,925.00
                                       since 1991
James E. O'Neill                       Partner 2005; Member of Dr Bar ^$ 75Q.fl0                   8.30               $ 6,225.00
                                       since 2001; Membe~~ ofPA Bar
                                       since 1985
Joseph M. Mulvihill                    Associate 2015; Member of DE                $ 395.00        x.30               $ 2,883.50
                                       Bar since 2014; Member ofPA
                                       Bar since 2015
Monica M. Molitor                      I'a~•alega12009                             $ 305.04      16.90                $ 5,15A~.50
Charles J. Bou~or~kis                  Case M~.na~;~ment AssistaXlt 200~           ~ 22.5.00 _ 0.80 ___ ~; 180.00
Karen. S. Neil
.__._._-------__._._.....~....~        Case Management         f~ssistant 2 03w......_...~..~T     l .50              $ 337.50
                                                                                   $ 225.00 _....._.~---_...__._._...~........._........
                                              _._.._.___--------
~3eatrice M. Ka~~eleski                Case Management Assistant 2009              $ 225.00        0.10               $         22.50

                                                          Grated Total: $                     32,947.50
                                                          Total Hours:                            53.00
                                                          Blended 12ate:                        $621.65




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--._.~._                   ~._._. .._T.___.— _                                                     .~....         ...~._....._          ._.._--.
                 _ I'ra~~~t   ~C~ite~z~i~~~___                          'I'~t~i   ~c~u~~~            '                 ~`~ot~i  ~'e~s
 ___,,._~_w_        ~.._..     ___.__ _ _       ___                _..~___                 ....._._.._...._ .
 Bankruptcy Litigation _T_ ~ _                   _~                            __~~ 1 S.A~O _                                  $12,976.50
         Adx~inistration
 Case _____.       ____...._.._~__---______._..                                               17.10 ___.,___
                                                                 _._.._._.v...__..__-----_..._____.__._                           5,392.50
                                                                                                                               $ _____
 Campensatiori         oI']'rofessional       _            _      _        _    ____   ~         0.20           _~_        ~   $     120.QQ
 Lxecutor•y Co~ltracts---~_._.__ _---- ---_ _                                                    1.10                          $ 434.50
 ~Zetention
~_~,            oi'1'rofessional
           ._.__..____.__.__._.___M...._._.T____.._____w_~...           M                        3,70
                                                              _..__w___._,_.__.------......._.___._._-.       ~       ~~~$        3,12.50
                                                                                                              ---.__.__~._._._._...._.__..___—~
 St~_Lit~ation w_~~.~._..__._:_._.__.—______~.~.                          ~~.~_.~_~Y~..__1.5.50 . ____________._._ ~1Q,891~50



                                                      EXI'EI~~IE ~~1I1~i110~Al2~'
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 Delive~•~/Courier Service                      ~                                                     $ 13.00
 Court Research                                                .—.___._._._..._~...                   $ 17.40
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  PSI&J may use one or more ser~~icc providers. The service providers identified herein below are the ~ri~nary
 service providers for the cate;~ories dc;scribed,


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                           IN THE UNITED 5'1'AT~S BANKRUPTCY COURT

                                   FOR TT~E DIS7'RTC'T OF DELAWARE

In re:                                                  ) Chapter 11

QUTC~SILVF~,R, INC., et' al.,                           ) Case No. I5-1188Q (BI,S)

                       Debtors.' ~                       j
                                                              ,Tointly Adrniz~istered
                                                              Objection ~1e~dline: T~ece~nbe~• l4, 20Y5 at x4:00 p.~a7.
                                                              1H[ea~•i►~~; llate: ~cl~eclt~iec~ only i9' l~ecessaM•y




               FIRS'' IYION'~'I-~I~~'S~ AI'I'~.,~CATinl~t ~+f31~ C~)I~'i~'~'~1~1~A,'!'Yt31V
                       Al\lD R~IIbXBiJ1ZS +'N1~NT ~T'E~P~+:I~SI+:~ C~~+~
             I'A~HULST~T STl-~.I~CG ZIEH[I~ 8z .~O1mlL+'~ L]Ll', A.S C()~~:~iJNSEL
               TO '~'I~E DEBTORS AND D~BTOI~S IN PO~~ESSI(31>1, F()R
      '~'HE PERIOD FRONT SEPTENi~iER 9 2415 THk20UGi~ SEPT +MI3ER 30 2015

                   Pursuant to sections .330 and 331 of Title 1 ~ of the United States Code (the

`Bankruptcy Code"), Rule 2016 of the Tederal Rules of Bankruptcy Procedure (collectively, the

`Banlcx•uptcy Rules"), and the Court's "Order Pursuant to 13ankzuptey Lode Sections 105(a) and

331 Estahlislung Interim Compensation ~'roeedures," signed ova o~• about October 28, 2015 (the

"Administrative Order•"), Paehulski Stang Ziehl & .T<~nes I.r,i'("~'SZ~,I" or the "~i~m"), Co-

Counsel to the Debtors and Debtors in Possession ("Debtors"), ~ez•eby submits its Fia~st lY~ontl~ly

Application fbr Compensation and for Reimbursement o1'Expenses for the I'e~•iod From

September 9.2015 through September .30, 201 S (the "~~plication")

                   By t11is Application PSI&J seeks a monthly interim allowance of compensation

in the amount of $3?,947.50 and actL~al and necessary expenses in the amount of $Q36.40 Cor a

` "The Debtot•s and the last fo.u~~ digits of their respective taxpayer identification numUe~~s are as follows:
Quilcsilver, Inc.(9~k26), QS Wholesale, Inc. {8'795), llC nirect, Inc.(8364), DC Shoes, Luc, (0965), l~ic~ra, Inc.
($9~5), Hawk I)esi~ns, IIIC. {1 IZ~~, Mt. Waimea, lna (5846), Q.S. Optics, Inc.(2493), QS TZetail, Inc.(0505),
Quiksilver Entertainment, inc.(9667), and Quiksilver Wetsuits, Inc.(9599). The address oi'the Debtors'
corporate I~eadquarters is 5600 Argosy Cit•cle, T-Iuntington Beac11, California 92649.


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total allowaxice of $33,383.90 and payment of $2.6,35$.00(80% of the allowed fees) and

reimburs~rnent of $436:40(100% of the allowed e~zpenses) for a ti~>tal payment of $26,794.40 fog•

the period September 9, 201 S through September 30, 2015 (the "Interim Period"). In support of

this Application, PSZ&J respectfully represents as follows:

                                                I3acic~~•ouY~d

                  1.         On September 9, 2015, Debtors commenced their cases by filizlg volunlazy

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in possession

ot'their properties and continue to operate and manage their businesses as debtors in possession

puz•suant to sections ~ 107(a) and '1108 of the Bankruptcy Code. An official committee of

unsecux•ed cr•cditoz•s ("C;ammittee") was appointed in these cases on or about September 22,

201.5. No trustee or• e~amirier has been appointed in any of the Debtors' chapter 11 cases.

                 2,          Tae Court has jurisdiction over this znattei• pursuant t~ 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C, § 157(b)(2).

                  3.         On or about October 28, 2015, the Court signed the Administrative Order,

authorizing certain professionals ("Professionals") to submit monthly applications for interim

compensation and reimbursement for expenses, pursuant to the procedu~•es specified therein,

The Administrative Ozder provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within_ twenty-one(21) days oiler service of the

manthl~ fee applicai:ion the llebtors are authorized to pay the I'r~oiessional eighty pez•cent(80%)

of the requested fees and one hundred percent(100%)of the requested expenses. Beginning

with the period ending Decembet~ 3l, 201.5; and at three-month intervals thex•~after, each of the



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Professionals shall fide and serve an interim application for allowa~~ce of the amounts sought in

its monthly fee applications for• that period. All fees and expenses paid axe on an interim basis

until final allowance by llle Court.

                  4.           The retention of PSZ&J, as Co-Counsel to the Debtors, was approved

effective as of September• 9, 241S by this C~ur•t's "Order Granting Debtors' Application Pursuant

to Sections 327(a) and 329 of the Bankruptcy Code and Bank~~uptcy Rules 2014 and 2016 and

Local Bankruptcy Rules 2014-1 and 2016-1 .Authorizing the ~mployrnent and Retention of

Pachulski Stang Ziehl &Jones LLP as Co-Counsel for the Debtors Nunc Pro Tunc to the Petition

Date," signed on or about Octobex• 6, 2015 (the "Retention Order"). The Retention Order

authot~ized PS7&J to be compensated on an hourly basis and to be reimbursed for actual and

necessary out-af-pocket expenses

                        PSZ&~T's APPLICATION FOR COMPENSATION AND
                              FOR REIMBURSEMENT 4I+' LXP~NSES

                                      Compensation Paid and Its So~~rce

                   5.          All services for• which PSZ&J requests compensation were performed for

or oil behalf of the Debtors.

                   6.          PSZ&J has received no payment and no promises fox• payment from and

source other than from the llebto~•s for services rendered or~ to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement oz•

understanding between PSZ&J and any other person othea• than the pa~~tners of I'S7.&J for the

sharing; of compensation to be received 'for services z~endered in this case. PS7,&J has received

payments from the Debtors during the yeas• prior to the Petition Date in the amount of


rocs l~r:zo3s~~>.i ~a~~~rooi                           3
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$150,000,00. Upon frzal recanciliatiozl of the amount actually expended prepetition, any balance

remaining from the prepetition payments to the Fiz•m was credited to the Debtors and utilized as

PSZ&J's retai~7er to apply to postpetition fees and expenses pu~•suant to the compensation

praced~ures approved by this Cou~~t in accordance with tike Baxilcruptcy Code.

                                                Fee St~itements

                  7.          The fee statements for the Interim Period are attached hex•eto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

parapr~ofessiona] during the Interim I'cz~iod. To the best of ~'S7&J's knowledge, this Application

complies with sections 330 and 331 of the l3anlauptcy Cade, the Bankx•uptcy Rules and the

Administrative Order. PSZ&J's time reports are initially handwritten by the attorney or

paralegal performing; the described services. The time ~~eports are organized on a daily basis.

PSI&J is particularly sensitive to issues of"lumping" and, unless time was spent in one time

fi•am~ on a variety of different matters for a particular clie~at, separate time entries are set forth in

the tune reports. PSZ&J's cha~~ges foz• its p~•ofessional services are based upon the time, nature,

extent and value of such services and the cost of comparable ser~~ices othex• thatl in a case under

the Bankruptcy Code. PST&J has reduced its chaz•ges related to any non-working 66travel time"

to fifth pe~~eent (50°/a) of I'SZ&.1's standard hourly rate. To the extent it is feasible; PSZ&J

professionals attempt to wo~•k during travel.

                                        Actual and Necessax-y Expenses

                  8.          A summary of actual and necessary expenses incurz•ed by PS7&J for• the

Interim Period is attached hereto as part of Txhibit A. PSZ&J customarily charges $0.1 Q per



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page for photocopying expenses related 1:a cases, s~,zch as these, arising in Delawaxe. PSZ,&J's

pha~~capying machines automatically record the numbex• of copies ~~aadc when the ~~e~•sa~ that is

dain~ the ca~yiX~g enters the client's account ~Zun~ber into a device attached to the: photocopier.

p~l&1 summarizes each client's photocopying charges on a daily basis.

                 9.          PSZ&.~ charges $1.00 per papa foz• out-going facsimile transnlisszons.

There is s~o additipnal charge for long distance telephone calls on faxes. 'I'11e charge for outgoing

facsimile transmissions reflects PS7&J's calculation of the actual costs incurred by PSL&J for•

the rraachines, supplies and extra labor expenses associated with scndin~; telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar• services.

1'SZ,&J does i~ot charge the Debtors for the receipt off;faxes in these cases.

                  10.        With respect to providers of on-line legal research services (e.g.; LT~XIS

and ~JFSTIlAW), PS7,&,1 charges the standard usage X~ates these px~ovidars charge for

computerised legal t•esearch. P57d'~,T bills its clients the act~~al amounts chaz•~ed b~ such

services, with no p2•emium. luny valu~ne discount x~eeeived by PSZ&J is passed on to the client.

                  11.        PSZ,&J believes the foregoing rates are the maxlcei: rates that the majority

of Iav~~ firms charge clients for suc1~ services. In addition, PSZ&J believes that such charges-are

in accordance with the American Bar Association's("ABA") guidelines, as set forth in the

ABA's itatemexat of Principles, dated January 12, 1995, regaz~cling billing; for disbursements and

other charges.




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                                         Sum~~aary of ~e~•va~:es Rendered

                    12.     .The names of the partners and associates of 1'SLc4cJ who have rendered

pxo~essional services ira these eases du~•in~ tl~e Interim pe~•ioc~, and the paralegals and case

mana~sment assistants of PSIc~iJ r7vho provided services to these attorneys dtxx~ing the Znteri~~

Period, are set ~~>rt~ in tk~e attached Lxllibit A,

                    13.         l'SZ&,7, by axzd through such persons, has prepared and assisted in the

preparation of va~iaus motions anal orders subrrzitt~d to the Couxt fo~~ cor~sidcr•atia~, advised the

Debtors on a regular basis with ~•espect to varioLts matters in connection with the Debtors'

l~anlcruptcy cases, and performed all necessary professiozlal sezvices which are described and

narrated in detail below, ~'S7&J's efforts. have been extensive due to the size and complexity of

the Debtors' bankr~iptcy cases.

                                         Su~t~in~aay t~f services k~~Pro~e~t

                    14.         rI'he services x~end~red by PSZ&J duz•iilg the Interitr~ Period can be grouped

into the categor~ics set forth below, I'SL~zJ attempted to place the services pt•ovided in tl~e

category that best relates to such se7~~ric~s, Zlowever~, hecalxse certain services may relate to one

ar more catenaries, services pertaining to one category may i17 fact be included in anothex

category. These se~•vices performed, by categories, are generally desc~•ibed bylaw, with a more

detailed identification of the actual sexvices provided set forth nn the attached Exhibit A. Exhibit

A identities the; attorneys and paraprofessionals vvho z~endered services relating to each cai:egory,

along with the number of hours for each individual and the total coYlapensatiarl sought for• each

category.



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              A.          Bantzrixptcy Lxt~gatior~

                   1 S.        This category relates to work regarding notions or adversaz~y pz~oGeedings

ix1 the Bankruptcy Court. During the Interim Period, the Tirm, among other things:

(l) performed woz•k ze~;arding First Day motions;(2) perfo~•med wo~~k regarding a request fox•

tcmpoz~ary restraining order relating to Euro Notes;(3) p~X~forn~ed work regarding Agenda

Noi:iaes and Hearing Binders;(~) prepared for and attended a hearing on September 10, 201 S;

and (5)conferred and corresponded regarding litigation issues.

                               r'ees: $12,9'76.50;   Hours: 15.40

              B.          Case Adrni~~istration

                   16.         This category relates to work rcga~ding administration of this case.

During the Interim Period, the Firm, among other things: {1) maintained a znemarandu~n of

critical dates;(2) maintained document conh•~l;(3) maintained service lists; a~1d (4)reviewed

and analyzed documents and pleadings and forwarded them to tha appropriate persons.

                               Fees: $5,392.50;       ~Iours:, 17.10

              C.          Com~ens~tion of Professionals

                   1'7.        This category relates to work regarding compensation of the Firm. During

the Inferim 1?eriod, the Firm, a~r~ot~g other things, cap°~•es~o~lded regat•din~; fee issues.

                               Faees; $120.00;        I-Tours: 0.20

              D.          Executory Coz~tz~~cts

                   18.         This catego~•y relates to work rega~•ding executory contracts arad unexpired

Teases of'real property. During the Interim Period, the ~irtn9 az~non~ other thirl~s, perfornned




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work regarding a motion pu~•suant to Section 364(d)(A~) to extiend the time for• assumption o~•

rejection of real property leases.

                                Fees; $434,50;               Hours; 1.10

              ~.          Retention of Pt•ofessiQnais

                   19.          This category relates to issues regarding retention of the Firn1. During the

Interim Pe~•iod, the l~irmi, among other things, performed work regarding tihe Pirm's ~•etention

application.

                                Fens: $3,132.50;             IIoua•s: 3.70

              F.          Stay LitigatioY~

                   20.          'I'11is category relates to issues regardil~~; tike automatic stay and ~•elief from

stay motions. Dux~in~; the Interim Period, the Firm, among other thizlgs, performed work

regarding a motion for relief from stay X~elating to deceleration of notes, performed research, and

corresponded and conferred regarding relict'fi~otz~ stay issues.

                                Fees: $10,891.50;             Hours: 15.,50

                                                   Variation of Se~•vices

                   21.          Attorneys and paraprofessionals of PSZ&J expended a total 53.00 hours i~1

connection with their representation of the I~~btors dr~rin.~ the Z~t~~•i~n ~'eriod, as follows:

I~~I11C Q~ Pl•c~fessian~l           .__~~sit~a~ pf tie A~~ l~c~nt,                     ~a~~rty           '~'atai         Tote
       ~Tit~I~'It~lli3~                 ~itl2l~3C'I' fD~~~'t~i`~ IT# ~~#A~.             ~I~~Id3~.        ~QtII'S   ~flYll~l~'l1Sil~1l{3T1_.
                                         ~~3I~It?TIs ~4'I(~I ~C~~~'~ITI~                  ~~i~G .:       ~i~~~C~
                                    ~'7~~}~'I'E@IICf'.~ ~L'c`ff' £?~ ~~►~F1lI1lT1~   ~IIlC~~I£~I11'~,.
                                      ~.elCf.'I1S~ ~€~ ~I'~#C~2£'{'~ ~I"Ci3 f3~:     ~,'~l`iill~~.'"~~
                                                   ~'..~j~~I"fISM
Laura Davis Jones                  I'aY~tner 2000; Joined Firm 2000;                  $1,025.00           15.30          $15,682.50
                                   Member• of DE Bar since 1986




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~~ ~e ~ I'~~~fessivn~,i           ~"r~~i~ian of tine A~~~iiic~nt~ ~.._~     ~~~~arl~   T'~t~l ~ T 'vta~
    ~r~tii~T ~.u~~                 ~''►Sra~~~ c~ off` ~Y~a~~ in t~~~        B lii~g     Ir~ur~ Car~~~iens~t ari
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                               F,:~~eri~nce,'i'e~r o#'()bt~inr~   (inciuc~i~g
                                 I.~icens~ tt~ 'r~ctic~, Ares cif  Changes}
                                            ~~: er~is~
Jeffrey N. Pomerantz          Partner 1995; Member of CA I3ar      $ 895.00     0.60 ~$ 537.00
                              since 1989
,1ohn A. Morris               I~a~•tner 2008; IVlember of NY Bar    $ 87~,~0    2.20      $ 1,925.00
                              since 1991
- James E. O'Neill            Partner 2005; Member• of DL Bar ~$ 7SO.OU         8.30 ~ $ 6,225.00
                              since 2001; Member ofPA Bar
                              since 1985
Joseph M. Mulvihill           Associate 2015; Menabe~~ of D~; ^~ $ 395.00       7.30      $ 2,883.50
                              Bar since 2014; Member ofPA
                              Bar since 2015
Monica M. Molitor             Paralegal 2009                        $ 305.00   16.90      $ 5,154.5Q
Charles J, Bouroulcis         Case Ma~ement Assistant 2001          $ 225.00    0.8Q ~ $ 180.00
Karen S. Neil                 Case Management Assistant 2003        $ 225.00    1.50    _ $ 337.50
Beatrice M. Koveleski         Case Management assistant      2009   $  225.00 ~ 0':.10 ~, $    22T54

                                            Grand 'Total: 5:              32,947.50
                                            Total Ho~~~•s:                    53.00
                                            Blended Rate:                   $621.65


                 22.        The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PS%&J's 2~~rmal hourly rates for work of this character, The

.reasonable value of the services rendered by PS7_,&J fc~r the Debtors during the; Interim Period is

$32,947.SQ.

                 23.        In accordance with tha factors enumerated in section 330 of the

BanJcruptc y Code, it is respectfully submitted that-the amount requested by PSZ&J is -fair and

~•easonable given (a)the complexity of the case;(b)the time expended,(c} the nature and extent

of the services rendered,(d)the value of such services, and (e) the costs of comparable sez•vices

other° than in a case under the I3ar~lci•u~tcy Code. Moreav~r, PST&.T has r•cviewe~ the




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                   Case 15-11880-BLS
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~~ec~uirements of Del. Banlcr. LR 2016-2 and the Administrative Order• and believes that this

npplicatioYl eornplies with such Rule and Order..

                       WHEI2EFOIZI:, pSL&1 respectfully z•equests that, for the period S~ptemher 9,

2015 thra~.i~h September• 30, 20]5, an interim allowance ~e made to ~'S2;&J for compensation i71

the amount 01$32,947.50 and actual anc~ necessaa~y expenses in the an~~unt cif $436.4Q for a total

allowance of $33,383.90 and ~aymcnt of $2fi,3S8.00 {80% of the allowed fees) and

reimbtax•semer~t of X436.40 (1 UO% of the allowed expenses) be authorized for a total payment of

$26,794.40, and for such other ~~id further relief as this court may deem just axed ~z•oper,

Dated: Novenlb~r~,2015                      PAC~IUr,SK~I STANG I1EHL & 1C)N~S I,7~P



                                               aura Da~i~'Torles(D~ Bar Na. 2436)
                                             Ja~~aes E. O'Neill(DL ~3ar Nn. X042)
                                             Jeffrey N.1'oznerantz(CA I3ax~ No. 143717)
                                            'John A. Morris(NY ~3ar No. 4662)
                                            919 North Marked Stz•~c;t, 17t1~ Floor
                                             Wilmington, Dl~ 19807
                                             Telephone: (302} 652-4100
                                             facsimile; (302)652-4400
                                             Email: ljones~z>pszilaw.co~ri
                                                       'oneill a~zjlavv.co~~1
                                                        JppTrierantr(ir~ps~z~'Iaw,com
                                                       'r~norris r~ ~szjlaw,c~~n

                                             Co-Ca~rnse~ for' the Debtors and Debtors in Possession




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STATE OF I7TT.,A'~rAIZE

C~~UN"I'Y Oi~ r1I~VV Cl~~"1'l~T


                   i,aux~a Davis 3a~~es, after being tiul~ sw~r~~ accordir~~; to law, dex~oses and says:

                   a)          I ai~a a partn~z~ with the applicant law firm l'achulslci Stang Ziehl &Jones

LUP, and have been admitted to appear befo~•e dais Cotaz~t.

                   b)          I am fanniliaz• vvitl~ many of the legal services rendered by Pachulski ~tan~;

Lic.hl &Jones LLP, as Co-Counsel to the Debtax•s, azld am thoroughly familiar ~ri~h the other

work perfoz•med ~n behalf of tk~e laebtors by tl~e lawye~•s and paraprofessionals of PSZB~J.

                   c)          I have ~•~viewed the foregoing Application axed the facts set 1~o~-th therein

are txue and cort~ect to the best of my Icnowled~e, infa~•mation and b~li~£ 1'vloreover, I have

reviewed Del. Banlcr, ~,R 2016-2 and the Administrative Order signed on or about October 28,

201 S, and submit that the Application substantially complies with such Rule and Order.




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~;~y~ -Coi~lir~isS~on expires:




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                                                 10100 Sa~~ta Monica Blvd.
                                                         13117 T'loor
                                                  C,os Angles, CA 9006'7
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RIB; Post-T'etition



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                  r'~ES                                                           $32,94'7,SQ
                  EXPI?NS1;S                                                         $43G,~}0
                  'T'F~'T~L CU~~R~I`~T CHA~GGS                                    ~33,3~3.90

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7?779     00002                                                                                        September ~Q, 20]S




  ~um~z~ar of Se~rviee~ ~r Ta~~€ ~ocl~
  Task Code              Description                                                         hours                       Amount

 Bia                     ~3an1<ruptcy Iaiti~,ation [L~30]                                    ~ 5~`~Q                  $12,976.50

 CA                      Case Adi~~inistration [8110)                                        17.10                     $5,392.50

 GIB                     Camper~sation 3'rof. ~~3160a                                         0,20                          $120.OU

 ~C                      Lxecuto~y Contracts[B 185J                                           ~~~~                          $434,50

 RP                      Retention of P~•ot'. [8160]                                          3.70                      X3,132,50

 SL,                     Stay Litigation (81 40]                                             15.50                    $10,891.50
                                                                                             53.00             ~      $32,94'1.50.


  Summary of Services lby Professional
  ID            Name                                        Title                   hate                Hours               Amount

 ~3MK           Koveleski, 13eat~•icc M.                    Casa Man. Asst.        225.00                x•14               $?2.50

 CJ~3           Bouzoukis, Chat•les J.,                     Case Man. Asst,        225.00                ~~$~           $180.00

 JAM            Morris, Joh» A.                             Partner                875.00                2•L0          $1,925.00

 JEO            O'Neill, James E.                           Partner                750.00                8.30          $b,225.00

 J1VIM          Mulvihill, Joseph M.                        Associate              395.00                ~~30          $2,8$3,50

 JNP            ~'omer~antz, Jeffrey N.                     Partnet~               $95.00                0.60           $537.00

 KSN            Nci1, Karen S.                              C;zse Man. Asst.       225,00                1.50           $337,50

 LUJ            Jones, 7_.aura Davis                        Partner               1025.00               15,30        $]5;682.SQ

 MM             Molitor, Monica                             Paralegal              305.04               16,90          $5,} S~.SO
                                                                                                       53.00           $32;947.50




 ~anai~z~r~of ~~:~~ense~
 DeSCi•jption                                                                                                               Amount

 Delivery/Courier Service                                                                                                    X13.00




 Pacer - CourC Research                                                                                                      $17.40




 Repraciuction ~xp~r~se [E10]]                                                                                              $333.7()
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 Sut~~mary of Expenses
 Desct•iption                                                                                       Amount




Reproduction/ Scan Copy                                                                             $72.30




                                                                                                    $436.40
                      Case 15-11880-BLS
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                                                                                           Hours             Rate           Amount

  13ankri~ptcy Litigation [L~3g]
09/09/2015    JNP      ~T~     Review em ails regal•ding case ding and ~~st day              0.20        895.00             $1'79.00
                               hearings.
09/09/2015    I_,DJ    BL      Telephone conference with ciicnts and Skadden                 I.OU       1025.00        $1,025.00
                               regarding pre~~arations for 9/10/l S hearing
00/09/2015    I.DJ     ~r~     Review first day motions and prepare for 9/10/15              2.70       1025.00        $2,767.50
                               hearing
09/09/2015    J~O      BL      Finalize TRO documents for possible ding,                     ~•DO        750.00        $1,500,00
09/09/2015    JEO      ~1~     Confe~•ence with John Morris and Laura Davis Jones            0.40        '750.00            $300,00
                               rega~•ding possible "fRO filing.
09/09/2015    JAM      BL      Review TRO papers far Buro Notes (.5); e-mail to              0.80        875.00             $700.00
                               PS7&J team re Eur•o Notes papers and filing (.1);
                               telephone conference with L. Jones, J. O'Neil re
                               status (.2).
Q9/09/201 S   MM       BL      Confer with Janes E. O'Neiil ~•egarding adversac•y            U.10        305.OQ              $30.50
                               proceeding and 'T'enlporary restraining order
                               pleadings and exhiUits
09/09/2015    MM       I3L     Review first day hearing agenda (.2); email                   0,50        305.00             $152,50
                               exchange with Shetyle Pitman and Andrea Paul
                               regarding hearing binder• for T~aui•a Davis Jones (.2);
                               obtain and refer ~r•st day declaration for Laura Davis
                               Jones (.l)
Q9/OR/2015    MM       B~-     Conferences and email exchanges with James E.                 0.30        305.00              $91.50
                               O'Neill regarding adve~•sary proceeding
Q9/14/2015    l,D.)    B1-     i~~nal preparations for 9/lQ/1S hearing                       2,50        1025.00       $2,562.50

09/10/2015    I.,DJ    BL      Attend 9/10/1S hearing                                        3.00       1025.00        $3,075.00

Q9/10/2015    MM       $~-     email to Laura Davis Jones and James L;. O'Neill              0.10         305.00             $30.50
                               regarding hearing transcripts
OR/24/2015    ,1~0     BL      Review.critical dates memo.                                   0.30         750.00            $225.00

09/25/2015    KSN      BI~     Prepare hearing binders for 10/6/15 hearing.                  1.50         225.00            $337.50
                                                                                            15.40                     $12,976.50

  Case Adi~~inist~•ation [B110]
09/09/2015    I3MK     CA      Arepared daily memo narrative and coordinated                 0.10        225,00              $22.50
                               client distribution.
09/09/20]5    MM       G~      Update dockets and review (3 times)(.3); review               1,50         305.00            $457.50
                               dairy correspondence and pleadings and forwat•d to
                               the appropriate parties (.4); update critical dates
                               memorandum (.6); email exchanges with counsel
                               regarding pending; deadlines and follow-up
                               regarding same (.2)
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                                                                                           Hours            Rate         Amount
09/09/2015     MM       CA        Coordinate 2002 service data updates regarding             0.10       305.00           $30.50
                                  Simon Property and GGP Limited Partnership
09/10/2015     MM       CA        update dockets and review (2 tunes)(,2); review            0.70       3US.Q0           $213.50
                                  dai3y coj•respondence and pleadings and forward to
                                  the ap~~opriate }parties (.3); update critical dates
                                  memorandum (.1); email exchanges with counsel
                                  regarding pending deadlines and follow-up
                                  regarding same (. i)
09/11/2015     MM       CA        Update dockets and j•eview (2 tiii~es){.2); review         I.50       305.00           $457.50
                                  daily correspondence and pleadings and forward to
                                  the appropriate parties (.S); update critical dates
                                  memorandum (.7); email exchanges with counsel
                                  regarding pending deadlines and follow-up
                                  regarding same (,1)
09/11/2015     MM       GA        Coordinate 2002 service data updates regarding             0.10       305.00            $30.50
                                  counsel for C 8i K Trading Company
09/1 1/2015    MM       CA        Coo~•dinate 2002 service updates rega~•ding counsel        0.10       3Q5.00            $30.50
                                  for• Oaktree Capital Management and Tax
                                  Comptroller of Public Accounts
09/11/2015     MM       GA        Coo7~dinate 2002 service updates regarding 404 west        0.20       305.00            $61,00
                                  LI.C, Arlington iSD, Taubman [.andlat•ds and 7-tilco
                                  Merchant Resouz•ces
09/l 4/201 S   MM       CA        iJpdate docket and review (,l ); review daily              1.10       305.00           $335.50
                                  correspondence and pleadings and ('or•ward to the
                                  appropriate parties (.6); update c~~itical dates
                                  memorandum (.3); email exchanges wrth counsel
                                  regarding pending deadlines and follow-up
                                  regarding same (.1)
09/14/2015     MM       ~A        Coordinate 2002 service data updates regarding             0.10       305.00            $30.50
                                  counsel fior licensor
00/14/2015     Mivl     C~        Coordinate 2002 service data updates regarding             0.10       305.00            $30.50
                                  counsel foz• GUP Limited PaT•tnership
09/t 4/2415    MM       Cn        Coordinate 2002 service data updates regarding             0. i 0     305.00            $30.50
                                  State of Texas Taxing; Authorities
09/14/2015     MM       CA        Coordinate 2002 service data ixpdate regarding             0.10       305.00            $30.50
                                  counsel for Taubman Landlot•ds
09/15/2015     MM       CA        Coordinate 2002 service data updates j•egarding            0.10        305.00           $30.50
                                  Dallas County, Texas
09/1S/2015     MM       CA        Update dockets and review (2 tunes)(.2); review            0.80        305.00          $244.00
                                  daily co1•respondence a~~d pleadings and forward to
                                  the appropriate parties (,3); update critical dates
                                  mernor~andutn (.2); email exchanges with counsel
                                  regarding pending deadlines and follow-up
                                  regarding same (. l)
09/16/201 S    MM       ~A        Coordinate 2002 service date updates regai-din~            O.10        305.00           $30,50
                                  counsel for Boulevard Cnvestment and Macerich
                       Case
                       Case 15-11880-BLS
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                                                                                             Hours            Kate          Amount
09/16/2035      MM       ~A         Update docket and review (.l); j•eview daily               0.80        305.00           $244.00
                                    correspondence and pieadin~;s and forward to the
                                    appropriate parties (,6); update critical dates
                                    memorandum (.l)
09/17/2p 15     ~,DJ     ~~         Correspondence with Monica Moirtor r•e~ardin~              0.10       1025,00           $102,50
                                    critical dates inerria
Q9/17/2015      MNI      CA         Update docket and review {2 times)(.2); review             0,70        305.00           $213.50
                                    daily cai~~espondence and pleadings and forwaj~d to
                                    Che appropriate parties (.3); update cj~itical dates
                                    rnemo~•andum {,1 }; email exchanges .with counsel
                                    re~;ardin~; pendi~l~; deadli~~es and follow-up
                                    re~;ardin~; same (,1)
09/17/20 i S    MM       ~~A        Coordinate 2002 service data updates re~ar•din~;           0.10        305.00            $30,50
                                    counsel fo~`Macei•ich Company and Mit•acfe 1V1ile
                                    Shops
09/18/2015      JNP      CA         Conference with V, Dur•r~r i•egai•ding case issues,        0.30        895.00           $2G8,50
0912 1120 1 5   CJB      L~         Maintain document control.                                 0.50 .      225.00           $112.50
U9/21/24l S     MM       ~A         Coordi~~ate 2002 se~~vice data updates regarding The       0.10        305.00            $30,50
                                    T~~vine Company, T~LG
09/21/201 S     MM        ~=~       Update doclGet and review (2 times)(.2); review            0.80        305.00           $244,00
                                    daily correspondence and pleadings and fo~vvard to
                                    the appropriate parties (,4); update critical dates
                                    mernoi•a~idum (.1); emarl exchanges with counsel
                                    regarding pending deadlines and follow.-up
                                    regarding sane (.1)
09/2212.015     MM        CA        Update docket and review (.1); review deify                 1.20       305.00           $366.00
                                    correspondence and pleadings and forward to the
                                    appropriate pa~~ties (.4); update critical dates
                                    ~nemorandr~m (.5); email exchanbes with counsel
                                    re~;ardit~~ penc~rng deadlines and follow-up
                                    regarding sane {,2)
09/'L2/2015      MM       ~~        Coordinate 2002 service data updates i~~garding            0,10        305.00            $30.50
                                    Counsel t'aa• ~3anc of America Leasing and Counsel
                                    f'or Delaware 'i'rust Company
09/23/?O1 S      MM       ~'~       Coordinate 20Q2 service updates regarding                  0.10        305.00            $30.50
                                    C-am~nittee of Unsecured Ct•editors
09/23/2015       MM       GA        Update.dacket and review {,l); revrew daily                 O.GO       305,Q0           $183.00
                                    correspondence and pleadings and forward to the
                                    appropriate patties (.3); update critical dates
                                    merno~andum (,i); email exchanges with counsel .
                                    1•egat•ding pending deadlines and follow-up
                                    regarding same (.1)
09/2 12015       MM       r~        CJpciate docket and review (.1}; review daily               1.10       3p5,00           $335.50
                                    correspondence and pleadings and f'or~~ard to the
                                    appropriate patties (.4); update critical dates
                                    memorandum {,3}; email critical dates memo to
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                                  Janes I ,O'Neill fog• review and comment(.1); email
                                  exchanges with counsel ~•e~af•ding pending d~adJines
                                  and follow-up regarding same (.2)
X9/24/2015     MM       ~~'~      C;oordinate 2002 service data rzpdates re~;ar•din~         0.ZO       305.00           $61.00
                                  counsel for Massive Prints and State of Missouri
                                  Department of Revenue
09/24/2015     MM       fi=n      Coordinate 2002, service updates regarding; counsel        0.10       305.00            $30.50
                                  for Banc,ot'America Leasing
09/2.4/2015    MM       CA        F'srnail to Linda Miarza i•cgardin~; adjustments to        0.14       305.00            $30.50
                                  2002 service data regarding tap 30 creditors and
                                  Creditors' Coj»mittee counsel
09/24/2015     MM       CA        Email co Kathe F. Finlayson regarding schedule of          ~~ l ~     305.00            $30._50
                                  statutory deadlines for mastej• calendar
t?9/24/201 S   MM       CA        Coordinate 2002 service data updates regarding             0.10       305.00            $30,50
                                  Counsel for SAT' Industries
09/25/2015     C.ft3    ~=~       Maintain document control.                                 0.30       225.00            $67.50
09/2S/2015     MM       CA        Coordi»ate 2002 service data update regarding              0.10       305.00            $30.50
                                  Counsel for SAP Industries
09/25/2015     MM       Cn        Update docket and review (.1); review daily                0.50       305.00           $]52.50
                                  cort•espondence and pleadings and forward to the
                                  appropriate parties (.2); update critical dates
                                  memoranduir~ (.1); email exchanges 4vith'counsel
                                  regarding pending deadlines and follov~~-up
                                  regarding same (.1)
09/28/2015     MM       CA        email exchange with Ctaj~en Neil regarding hearing         U:10       305.00            $30:50
                                  binders.
09/28/2015     MM       ~A        update dockets and review (.1); review daily               0.70       305.00           $213.50
                                  correspondence and }~leadit~gs and forward to the
                                  appropriate parties (.3); update critical dates
                                  memorandum (,2); email exchang~:s with counsel
                                  r•egai•din~ pending deadlines anc~ follow-up
                                  regarding same (,])
09/28/2015     MM       ~n        Coordinate 2002 service updates regarding Counsel          0.10       305.p0            $30.SQ
                                  fror- Annapolis Mall Oti~~r~er
09/29/2015     MM       CA        Coordinate 2002 se~•vice data updates regarding            ~• i ~     305.00            $30.Sp
                                  Counsel for Queens Market
09/29/2015     MM       CA        Update docket and revie~x~ (.l); review daily              0.80       305.00           $24~A0
                                  correspondence and pleadings and forward to the
                                  appropriate, parties (.3); update cr•itic~l dates
                                  memorandum (.2); email exchanges t~ith counsel
                                  regarding pending deadlines and follow-up,
                                  regarding sane (.2)
09/30/2015     MM       ~A        Update dockefand review (.1); review daily                 O.SO       3pS.Q0           $152,50
                                  cor•respondenee and pleadings and forward to the
                                  appropriate panties (,2); update critical dates
                       Case 15-11880-BLS
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                                                                                     I-lours           Rate         Amount
                               memorandum (.1); email exclian~;es with counsel
                               regarding pending deadlines and follow-up
                               regarding same (.!)
                                                                                      17.10                    $5,392.50

  Compensation Prof [131G0]
09/23/2015     JNI'     CA     Review and forward pi•epetition bill to Skadden.        0.10        895.00            $89.50
09/2A/201.5    MM       ~~'    Email to William Ramseyer regarding Committee           0.10        305.00            $30.50
                               appointment date ar~d PSZJ retention application
                                                                                       0.20                         $120.00

  E:~ecrYto~-y Contx•acrs [B38S]
09/27/201 S    JMM      ~~=    Finalize motion to shorten for• 365(d)(4) motion        0.20        395,00            $79.00
09/27/2015     JMM      ~~     Comments to 36S(d)(4) motion to Laura Davis Jones       0,60         395.00          $237.00
                               and James E. O'Neill
09/28/2015     JMM      ~C      mails with Lau~•a Davis Jones and Skadden              0.10         395.00           $39.50
                               regarding 365 motion
09/28/201 S    JMM      EC     Reviewing cotnt7lents form Steven Fox j•egarding        0.20         395.00           $79.00
                               365 motion
                                                                                       1.10                         X434.50

  Retezjtion of Prof.[B160]
09L1 1/2015    JBO      RP     Draft P57_,&3 retention application.                     1,00        750.00          $750.00

09/1 4/2015    LDJ      nP     Cort~espondence with Annie Li regarding PSZ&J            0.10       1025.00          $102.50
                               retention
X9/1 S/2015    LDJ      1tP     Worlc on PSI&J retention application                    0.30       1025.00          $307.50
09%15/2015     LDJ      1~P    Correspondence with Vats Duj•rer regarding PSZ&J         0.20       1025.00          $205.00
                               retention application
09/1 5/2015    I,DJ     1~p    Further revisions to PSZ&J retention application         0.20       ]p25,00          $205.00

09/ 15/201 S   JI;C?    RP      Review and update PS7_,&J retention. app.               0.60        750,00          $450.00

09/16/2015     LDJ      1~~'   Correspondence whh Annie Li ~~egarding PSZ&J             0,20       1025.00          $205,00
                               retention application revisions
09/17/2015     LDJ      n7'    Con•espondence with James E. O'Neill regarding           0.10       1025,00          $102.50
                               final charges to PSZ&J retention application
09/17/2015     LDJ      RP     Correspondence with Annie Li regarding final             0.20       ~ 025.00         $205.00
                               retention application
09/l 7/2015    JEO      R1'     War'k on retention app for PSZ&J.                       0.80        750.00          $600.00
                                                                                        3.70                    $3,132.50
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                                                                                                Hours           Rate         Amount

  Stay Litigation [I3140]
09/24/2015      LDJ       SL        'Telephone call with Van llurrer regarding stay relief       0.30      1025.00           $3Q7.50
                                    motion Tor deceleration of notes
09/2 /2015      I,DJ      SL        Con•espondence with James E. O'Neill t~e~a;•diilg            0,3Q      1025.00           $307.50
                                    stay relief motion fog• deceleration of notes
09/25/2015      I,DJ      SL        Review and revise stay relief motion                         2.i0      1025.00      $2,152.50
09/25/2015      LDJ       ~L        Review and revise motion to shoi`Ger~ regarding              0.40      1025.00           $410.0
                                    motion for stay relief
Q9/ZS/2Q15      L,DJ      SL        Correspondence with Annie Li regarding stay relief           0.20      ]025A0            $205,00
                                    motion
09/25/2015      JEO       SL        Review stay motion and provide commcrits,                    0.80       750.00           $600.OQ
09/2S/2015      Jr~       SL        Wank on draft of stay motion.                                2.00       750.00      $1,500,00
09/2S/201 S     JEO       ~1,       ~;~~iails with Joseph Mulvihill regarding stay motion,       0.40       750.00           $300.00
09/2S/2015      .TAM      SL        `I'ciephone conference with L. Jones re stay relief           1.20      875.00      $1,Q50.00
                                    motion (.1 }; telephone conference with L. Jones, A.
                                    [,i re stay relief motion (.1); review dt~aft stay relief
                                    motion (:~1}; telephone conference with t,. Jones i•e
                                    stay relief(.1); review revised motion {.3);
                                    communications with J. O'Neil, J. Mulvihill re
                                    motion (.2).
09/25/2015      .TMM      SL        Drafting; relief from stay motion                             2.70      395.00      $1,066.50
09/25/2035      JMM       SL        Emails With.i;aur~a Davis Jones ,James F. O'Neill             0,20       395.00           $79.00
                                    and co-counsel regarding relief from stay ~notior~
09/25/2015      JMM       SL        Phone call with I.,aura Davis Jones and John Mof•ris          0,20       395.00           $79.00
                                    regarding relief from stay motion
09/25/2015      JMM       SL        Draft motion to shorten                                       ~.$0       395.00          $316.00
09/25/2015      JMM       SI,       Finails with Laura Davis Jones regarding filing a             0.10       395.00           X39.50
                                    motion to sflorten
09/25/2015      JMM       SL        Adding indentuT•e to motion pei• James E. O'Neill             0.10       395.00           $39.50
                                    ern ai i
09/26/2015      LDJ       SL        Review revisions to stay relief motion                        0.20     .1025.00          $205.00
09/27/201 S     LDJ       SL        Co~~respondence with Pat Nash regarding stay relief           0,20      1025.00          $205.00
                                    motion for deceleration of notes
09/27/2015      7,DJ      57.,      Correspondence with Steve Fox regarding stay relief           0.20      1025.00          $205.00
                                    motion
09/27/201 S     C~I~J     SL        Correspondence with Robert Ripin regarding stay               0.20      1025.00          $205.00
                                    relief rnotian
09/27/2Q15      1MM       SL        Review Skadden changes to motion                              0.20       395.00           $79,00
09/28/2015      I,bJ      SL        Review and revise stay relief motion                          0.40      1025.00          $410.00
09/28/2015      JAM       SL        ~-mails with I.,. Jones, Skadden re Euro Notes                020        875.00          $175.00
                                    Motio7~ (.2).
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09/29/2015    I,DJ     S~-       Update stay relief maCion                            0.20        1025.00           $205,OQ
09/29/2015    1MM      S~-       Research regarding Steven Fax's comments to stay     0.20         395.00            $79.00
                                 relief motion
09/30/291 S   JMI~I    S~-       Bmails with T~aura Davis Tones and Skadden           0.30         395.00           $ll$,50
                                 regarding lift stay motion and motion to shorten
Q9/30/2015    JMM      s~        Research 3•egarding comments on life stay motion      1 ~~~       395.00           $553.04
                                                                                     15.50                      $10,891.5Q

  TQTAL SERVICES FOR TI~IIS MATTER:                                                                            $32,947.50
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 l~~xxses
 09/09/201 S     RI;       (4 @0.10 PER PG)                                      0.40

 09/09/2015      RE        (1 @U.10 PI3R I'G}                                    0.10

 09/09/?O1 S     RE        (3 @Q.10 PER PC3)                                     0,3Q

 09/09/7015      I~I~      (4 @0.10 1'~T~ PCi)                                   0.40

 09/09/x015      IZE       (~ @Q.10 PBR PG)                                      0.40

 Q~1!09/2Q 15    i~E       (G (a~0,10 PER PG)                                    0.40

 09/09/201 S     ItF       (2 X0,10 PT;1~ PG)                                     0.20

 09/Q9/2015      RE        (4 ~cr~,0.10 PEIt PU)                                  0.40

 09/09/2015      RE2       SCAN/COPY(78 ~~0,10 PAR PG)                            7.80

 09/'10/7017     R~,       (148 @O.lp 1'ER PCi)                                 1 ~~.80

 09/10/2015      R13       (7 @0,10 PER PG)                                       0.10

 09110/201 S     IZL;      (~ @0,10 P}~'R P<Y)                                    0.40

 09/10/2015      Ri.;      (]b @0:10 YI;R PG)                                     1.60

 09/1 U2015      RL        (2X0.10 PER i~G)                                       0.2t)

 09/11/2015      Rl        (4 @0.10 PER PG}                                       0.40

 09/17/2015      iZE       (2 ~0,I ~ PER PG)                                      0.20



 U9I1 I/2015     }ZE       (172 @0.10 PAR PG)                                    17.20



 09/l 1 /2015    RE        (152.@0,1 U P~;R PG)                                  15.20



 Q9/11/2015      RE        (1 (a~0.10 PF,R PG)



 p9/ 1 1 /7015   RF.,      (4 ~a~0.10 PER PG)                                     0.40
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 09/1 1/2015     R~         (3 @0.10 ]'ER PCr}                                   0.30

 09/1 1/2015     1ZI.       (1 @0.10 P~,R PG)                                    0,10

 p9/1 1/2,015    }tl        (2 @0,10 PER PG)                                     0,20

 Q9/11/2Q1S      Rl;        (l @0.10 PriZ T'G)                                   0.70

09/11/2015       Res        (1 (a7p.10 PER PG)                                   0.10

 09/1 I/2015     RE         (7 @O.10 I'~R 1'C~)                                  0.70

09/l 1/2Q 1 S    RE         (I @0.10 P~aR PG)                                    0.1~

09/ 1 1 /2015    RE         (24 @0.101'1:12 PCr)                                 2.40

 09/1 1/201 S    R~,        { ] L~,10 PAR ['G)                                   0.10

09!1 l /2015     RT?        (6.0.10 PER AG)                                      0,60

 09/1 l /20 15   Rl~        (~ @0,l0 Prl2 PG)                                    0.60
                                                                                        . .
 0~)/I 1/2015    RL         (2 @0.]0 PER PG)                                     0.20

0917 1!2015      R~         (34 ~~0.10 T'EK PG)                                  3.40

 0911 1/20 1 5   RE         (2X0.10 PER 1'G)                                     0.20

 09/1 1/2015     RI~,2      SCt1N/COPY (21 ~a~0,101'XiR PG)                      2,10

 09/1 1/2075     CtE2       SCAN/CONY (26 x.0.10 PI;R PCB)                       2.60

 09/l 1/2015     RE2        SCAN/COPY(58 @0.10 PFR PG)                           5.80



 Q9!1 1 /2U 15   R~2        SCAN/COPY(58 @0.10 PER 1'G)                          5.80



 09/14/2015      RE         (2X0.10 PAR PG)                                      0.20



 09L14/2015      RE         (919 rr,0.10 PER PG)                                91,90



 U9/14/201 S     RI;        (1 ~~0.10 PER PG)                                    0.10
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09/14/2015      RE       (2 @O.I O PAR PG)                                    0.20

 09/14/2015     RE       (2 @0.]0 PER PG)                                     0.20

 09/14/2015     RE       (3 @0.10 PER PG)                                     0.30

 09/14/2015     R~       (1 @0.10 PER PG)                                     0,10

 09/1 4/2015    RE       (39 @0,10 PAR PG)                                     3.90

 09/l4/201 S    R~       (2 @0.10 PER PG)                                     0.20

 09/14/2015     RE       (l6 @0.]0 PER PG)                                     1.60

 09/1~4/2U15    RE       (1 @0.10 1'7?R PG)                                    0.10

 09/14/2Q 15    RL       (2 @0,10 PER PG)                                      0.20

 09J14/2015     RE       (1 @0.10 pER PG)                                      0.10

 09/14/2Q 15    RE       (2.@0.10 PER PG)                                      0.20

 09/14120 i 5   RE       (6 @4,1 Q PER PG)                                     0.60

 09/14/2015     RE       (i ~O.1Q PBR PG)                                      0.10

 09/14/2015     RE       (2 @0.1 Q PIR PG)                                     x.20

 OR/14/2015     RE       (4 @0.10 PF;R PG)                                     0.40

 09/18/2015     RE       (430 @O.10 PAR T'G)                                  43.00

 09/J~4/2015    KE       (3 @0.10 PAR PGr)                                     0.30



 09/15/2015     RE       (2X0.14 PER PG)                                       0.20



 09/15/2015     RE       (3 @0.10 PIR PG)                                      0.30



 09/1 S/201 S   RI.      (6 @0,10 PER 1'G)                                     0.60



 09/15/201 S    RE       (12 a 0.10 PER PG)                                    ~ •2~
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09/15/20]5      RE         (2.@0.10 NER PG)                                       0.20

09/15/20]5      RE         (2 @0.10 PER PG)                                       0.20

09/ 1 S/201 S   RE         (S @0.10 I'k~:R PG)                                    0.50

09/16/2Q15      RE         (6 cr 0.10 PER P~)                                     0.60

09/16/2015      R~         (3 @0.]0 PBR PG)                                       0.30

09/16/2015      RE         (563 @0.10 PER PG)                                    Sb.30

09/16/201 S     R~         (4 @0.10 PER PG)                                       0.40

09/]6/2015      RE         (2 @0.10 PER PG)                                       0.20

09/17/2Q 15     R~         (6 @0.10 PAR PG)                                       0.60

09/1'7/201 S    IZE2       SCAN/COPY(26 @0.]0 PAR PG)                             2,60

09/1 7/2015     R~2        SCAN/COPY (26 @0.10 PER PG)                            2.60

09/17/2075      R1;2       SCAN/COPY(Z6 @0.10 PER PG)                             2.60

09/17/2015      RB2        SCAN/COPY(26 @0.10 PER 1'G)                            2.60

09/17/2015      RE2        SCAN/COPY (2G @0.10 PER PG)                            2.60

 09/17/2015     RF..2      SCAN/COPY(26 X0.10 PAR PG)                             2,60

 09/18/2015     DC         72779.00001 Digital Legal Cha1•~,es for 09-18-15       6.50

 09/18/201 S    RC         (3S @0.10 PAR PG)                                      3.50



09/1 8/2015     RI:        (6~ @0.10 PER l'G)                                     6.40



 09/18/2015     RE         (37 @0.10 }~k~12 PG}                                   3.70



 09/18/2015     RI         (6 @0.10 PER PG)                                       0.60



 09/18/2015     RE         (2 @0.10 PER PG)                                       0.70
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 09/18/2015     RF,2      SCAN/COPY(3S @O.IU PI:;R PG}                          3.50

 09/21/2015     RC        (28 @0.10 PER PG)                                     2.80

 09/21/2015     RE        (22 @0.10 PI;R I'G)                                   2.2Q

 09/21/2015     R~;       (5 @0.10 PER PG)                                      0.50

 09/21/2015     R~        (194 @0.10 PAR PG)                                   19.4Q

 09/21/2015     RE        (2 @0.10 PER PG)                                      0,20

 p9/21/2015     RE2       SCAN/COPY(22 @0.10 T'k~,R P<i)                        2.20

 09/21/201 S    RL2       SCAN/COPY(24 @0.10 1'ER PG)                           2.~0

 09/21/2015     R~;2      SGAN/COPY (36 @0.10 PAR PG}                           3.60

 09/2ll2015     RE2       SCAN/COPY(48 @0.10 PER PG)                            4.80

 09/22/201 S    RE        (7 @0.10 PER PG)                                      0.70

 09/22/2015     RE        (7 @0.10 PAR PG)                                      0,70

 09/22/2015     RE        (3 @0.]0 PE1Z PG)                                     fl.30

 09/22/2015     RE        (.6 @0,10 PER PG)                                     Q.bO

 09/23/201 S    RG        (4 @0.l0 PER PG)                                      0,40

 09/23/201 S    R~        (52 @0.i 0 PER PG)                                    5.20

 09/23/20 l 5   RF        (2 @0.70 PER PG)                                      0.20



 09/23/2015     RE2       SCAN/COPY(23 ~0.t 0 PER PG)                           2.30



 09/24/2015     DC        72779.00001 Digital Legal Changes for 09-24-15        6..50



 09/24/2Q 15    RE        (2 @0.10 PER PG)                                      0.20



 09/24/2015     RF,       (2 @0.10 I'ER PG)                                     0.20
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09/24/201 S      RE         (I9 ~u;0.10 PI~IZ PG)                              1.90

09/2/2015        RF         (1 (a~0.10 PF'R PG)                                0.10

09/2~/2Q 1 S     RE         (32 @0.10 PI K PG)                                 3.20

 09J2~/?.O l S   RF.,       (6 @0.10 PI;R PG}                                  0.60

 Q9,/2~1/201 S   R.F;       (2 @Q.10 P13R PG)                                  0.20

 Q9/24/2015      RF         (6 @O.10 P1;R PG)                                  0.60

49/2 /2015       1ZG        (2 @Q.t 0 P~1~ 1'G)                                0.20

09/24/2015       RE         (7 @0.10 PER PG)                                   0.70

09/24/2015       tZE        (7 @0.10 I'ER PG)                                  0."!0

09/24/2Q 15      RE         (l @0.10 P~;R PG)                                  o.ro
09/2 /2015       It~;2      SCAN/COPY(23 r~0. l 0 PLR 1'G)                     2,30

09/2S/2015       RE         (?. L0,10 PCR PG)                                  0.20

09/25/2015       RF,        (2 @0,10 PI;1Z PG)                                 0.20

 Q9/25/2015      RE         (2 @0.10 PE]Z PG)                                  0.20

09/25/2015       RE2        SCAN/COPY(35 @O.10 P~,R PG)                        3.50

09/28/2015       RF,        (2 ~0.l 0 PER 1'G)                                 0.20

 09/28/2015      Rl         (4 ~a;0.10 PF'R PG)                                O.~tO



09/28/2015       K~         (.1 b @0.10 P~;R 1'G)                               7.60



09/28/2015       RI:        (1 G @0,1 Q P_~.R PG)                               1.60



()9/28/20 i 5    RI:        (2 @0.10 PL,12 PG)                                 0.20



09/29/201 S      RE         (36 ~;0.i Q PI R PG)                               3.60
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 09/29/2015    RE2       SCAN/GOT'Y(22 ~c;0.10 PIER PG)                     2.20

 09/30/2015    PAC       Pacer -Court Research                             17.40

 09/30/2Q15    RL;      (](c~0.101'II2. PG}                                 o,ro
 ~9/30/2Q15    R~        (2 @O.10 PI;R PGj                                  0.20

 09/30/201 S   R~        { q X0,10 PAR PG)                                  0.40

 09/30/2015    RB        {7 ~O.10 PER PG)                                   0.70

 09/30/2035    RC2       SCAN/COPY (58 @O.IO P]?,R. PG)                     5,80

   Total Expenses fog• this Matter                                    ~~436.40
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                                                    RI~MITTANCF ADVICE
                                    Please include this Remittance Advice with dour payment



 For cuiment services re»dered through 09/30/201 S

Total Fees                                                                                                             $32,97.50
Char~;~able costs and disbu3•sements                                                                                         $436.40
Total Due on Current Invoice.....................                                                                      $33,383.90


Outstanding Balance from prior Invoices as of 09/30/2015       tmay not reflect recent payments)

]nvoice Number•                   Invoice Date                  Fees Billed                 Expenses }3illed          Balance Due




Total Amount Due on Curt•ent and Prior Invoices                                                                        $33,383.90
